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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

IN RE: §
§
PARADIGM TELECOM II, LLC § CASE NO. 18-34112
§
DEBTOR § CHAPTER 11

DEBTOR’S EXPARTE APPLICATION FOR AUTHORITY TO APPOINT
AND RETAIN COUNSEL PURSUANT TO 11 U.S.C. 8 327

TO THE HONOR_ABLE UNITED STATES BANKRUPTCY .}'UDGE:
COMES NOW, Paradigrn Telecorn II, LLC, the Debtor herein (the “Debtor”), and files this
Ex Parl‘e Application for Authority to Appoint and Retain Counsel Pursuant to l l U. S.C. § 327 (the
“Application”), and in support thereof, Would respectfully show unto the Court a follows:
I.
The Debtor filed a voluntary petition for relief under Chapter ll of Title ll of the United
States Code on Juiy 27, 2018 (the “Date of Petition”). From and since the Date of Petition, the
Debtor has maintained possession of its property, and has continued to remain in control of its
ongoing business affairs as a Debtor~in-possession pursuant to the provisions of ll U.S.C. §§ 1107
and llGS.
ll.
This Coui't has jurisdiction over the proceedings herein pursuant to l l U.S.C. § 105, and 28

U.S.C. §§ 151, 157, and 1334. Venue is appropriate herein by viitue of 28 U.S.C. § l408.

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III.

This Motion has been filed Ex Parte in accordance With Banl<ruptcy Ruie 9003 . Even though
the Debtor is filing this Appiication on an Ex Parte basis, it is providing Notice of same to the
United States Trustee.

IV.

Debtor has selected the law firm of Fuqua & Associates, P.C. (the “Firrn”), and chooses to
designate Richard L. Fuqua of that firm as attorney~in-charge. Debtor has selected the Firm f`or the
reason that both Mr. Fuqua, and thc members of the Firm have had considerable experience in
matters of this character, and Debtor believes that the Firm has the necessary expertise and
knowledge to represent it as a Debtor~in~possession in these proceedings

V.

In the operation and management of the Debtor’s business, as Debtor-in~possession,
numerous legal questions and matters Wiil arise Which require the services and advice of counsel.
The professional services to be provided by Fuqua & Associates, include, inter alia:

(a) to provide the Debtor legal advice With respect to its powers and duties as a Debtor-
in-possession in the continued operation of` its business, and management of its property;

(b) to prepare ali pleadings on behalf1 of the Debtor, as Debtor-in-possession, Which may
be necessary herein;

(c) to negotiate and submit a potential plan of arrangement satisfactory to the Debtor, its
estate, and the creditors at large; and

(d) to perform all other legal services for the Debtor as a Debtor-in~possession which may

become necessary to these proceedings herein.

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For the reasons stated above, the Debtor is of the view that it is necessary for it to be
authorized to retain counsel to assist in connection With its duties and responsibilities as a Debtor-in»
possessionl The Debtor has already sought the advice and counsel of the Firm, and Would submit
to this Couit, that the employment of Fuqua & Associates, P.C. is in the best interests of the Debtor,
its estate, and to the Debtor’s creditors-at-large.

Vl.

To the best of Debtor’s knowledge, information and belief, Fuqua & Associates, P.C. has no
connection of any kind or nature With the Debtor, creditors, any other party in interest, their
respective attorneys and accountants, the United States Trustec or any person employed in the office
of the United States Trustee. Richard L. Fuqua and the Firrn represent no interest adverse to the
Debtor or its estate in the matters upon Which they have been engaged by the Debtor.

Retention and employment of the Firm Would be in the best interests of the Debtor and its
estate. The Affidavit of Proposed Counsel pursuant to ll U.S.C. § 327(a) and Fed. R. Bktcy. P.
2014 is attached hereto and incorporated herein for all purposes as Exhibit “A”.

VII.

At the present time, the Firrn charges the following billing rates:

Richard L. Fuqua, Attorney-in-Charge $5()0.0() an hour
Mary Ann Bartee, Associate $250.00 an hour
Michael L. Fuqua, Associate $225.0() an hour
T.J. O’Dowd, Legal Assistant $95.00 an hour

The fees Which Will be charged on an hourly basis to the Debtor, as Debtor-in»possession,
Wiil be the normal and ordinary fees charged by the Firm to its other non-bankruptcy clients, and are

favorably comparable to fees being charged by other law firms in this District for services of a

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similar naturen

Pursuant to 1 1 U.S.C. §§ 330 and 331, any compensation sought in this bankruptcy ease by
the Firm Wiil be Subject to the scrutiny and authority of this Court.

The undersigned does hereby certify that he has received a copy of the Cruidelines on Fee
Appiicaticns for Attorneys effective Januaiy l, 1993 (reviscd l\/lay 5 , 1993), that he has read and
understands the same, and that he will follow such guidelines in making all fec applications

WHEREFORE, PREMISES CONSIDERBD, Paradigin Telecom II, L}'_.C, the Debtor herein,
prays for this Court to authorize the employment of the Firm; the Firm be employed on an hourly
fee basis to represent the Debtor as a Debtor-in-possession for all matters relating in any Way to these
proceedings under Chapter ii of Title 11 of the Unitecl States Code.

, , ~/JL
Respectfully submitted this 30 day of July, 2018.

PARADIGM TELECOM H, LLC

Brian D. Beers, PresidT

OF COUNSEL:

FUQIJA & AssoCrATns, P.C..

By: [s/Rr'chczrd L. Fugua
Richard L. Fuqua

State Bar #07552300

5005 Riverway, Suite 250
Houston, Texas 77056
Phone: 713.960~0277
Facsiinile: 713.960~1064

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CER'I`IFICATE OF SERVICIG

This is to certify that a copy of the above and foregoing instrument Was forwarded by ECF
and/or U.S. mail, first class postage prepaid to the United States Trustee, 515 Rusk St., Suite 3516,
Houston, TX 77002 on this the Y"+`day of July, 2018.

/s/Richard L. Ft_;g_ya
RICHARD L. FUQUA

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EXHIBIT “A”

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

IN RE:
PARADIGM TELECOM II, LLC CASE NO. 18-34112

DEBTOR CHAPTER 11

W§Gmcmimim

AFFIDAVIT OF PROPOSED COUNSEL PURSUANT TO
11 U.S.C.A § 327[a1 ANI) FED. R. BKTCY. P. 2014§a[

THE STATE OF TEXAS §
COUNTY OF HARRIS §
“I, Richard L. Fuqua, being duly sworn, depose and state the following:
I.

l am an attorney~at»law duly licensed to practice in the State of Texas. i am admitted to
practice in the United States District Court for the Southern District of Texas, as Weli as other
Districts. Further, l am also admitted to practice before the United States Fifth Circuit Court of
Appeals. l maintain my law practice at the law firm of Fuqua & Associates, P.C., 5005 Riverway,
Suite 250, Houston, Texas 77056.

At the present time, my services for all of the iirm’s clients are billed at the rate of $500.00
an hour. The fees Which shall be charged by the firm of Fuqua & Associates, P.C. to the Debtor’s

estate are as foiioWs:

Mary Ann Bartee, Associate $250.00 an hour
Michael L. Fuqua, Associate $225.00 an hour
T.J. O’Dowd, Legai Assistant $95.00 an hour

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II.

Neither l nor Fuqua & Associates, P.C. have any connection of any kind or nature With the
Debtor, creditors, any other party in interest, their respective attorneys and accountants, the United
States Trustee or any person employed in the office of the United States Trustee.

Neither I, nor the law firm of Fuqua & Associates, P.C. hold or represent any interest
adverse to the Debtor or its estate in the matters upon Which we are to be engaged by the Debtor.
Fuqua & Associates, P.C. and l are both disinterested persons. Neither l nor the law firm
of Fuqua & Associates, P.C. are creditors, equity security holders, or insiders, as defined in il
U.S.C.§ lOl(BI), ofthe Debtor.

The employment of Fuqua & Associates, P.C. is in the best interests of the Debtor and its
estate.”

Further, Affiant sayeth not.

/s/' Richard L. Fugua
Richard L. Fuqua

SWORN TO AND SUBSCRIBED BEFORE ME by Richard L. Fuqua, on this the &EH“/
day of July, 20l 8, to certify Which Witness my hand and official seal of office.

/s/ Tommz'e Jo O’Dowd. Notarv Pub!ic
NOTARY PUBLIC rN ANr) FOR THE STATE oF TEXAS
My Comrnission Expires: February 16, 2022

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